 Case 2:22-cv-01219-JGB-MAA Document 9 Filed 05/31/22 Page 1 of 1 Page ID #:54

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

Case No. 2:22-cv-01219-JGB (MAA)                                           Date: May 31, 2022
Title       Rodney L. Rollness v. H. Flores et al.



Present:    The Honorable MARIA A. AUDERO, United States Magistrate Judge


                    Narissa Estrada                                         N/A
                     Deputy Clerk                                  Court Reporter / Recorder

           Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:
                        N/A                                                 N/A

Proceedings (In Chambers):              Order to Show Cause Why This Court Should Not
                                        Recommend Dismissal

       On March 25, 2022, the Court issued a Memorandum Decision and Order Dismissing
Complaint with Leave to Amend (“Order”). (Order, ECF No. 8.) The Court ordered Plaintiff
Rodney L. Rollness (“Plaintiff”) to, no later than April 25, 2022, either file a First Amended
Complaint (“FAC”), notify the Court that Plaintiff wishes to proceed with the Complaint, or
voluntarily dismiss the lawsuit. (Id. at 16–18.) The Court cautioned Plaintiff that “failure to
respond to this Order may result in a recommendation that this lawsuit be dismissed without
prejudice for failure to prosecute and/or failure to comply with a court order pursuant to
Federal Rule of Civil Procedure 41(b). See C.D. Cal. L.R. 41-1.” (Id. at 19.)

        To date, Plaintiff has not filed a FAC, notice to proceed with the Complaint, or a Notice of
Dismissal of the action. (A Notice of Dismissal form is attached to this order.) Plaintiff is
ORDERED TO SHOW CAUSE by June 30, 2022 why the Court should not recommend that the
case be dismissed for want of prosecution. See Fed. R. Civ. P. 41(b); C.D. Cal. L.R. 41-1. If
Plaintiff files a FAC, notice to proceed with the Complaint, or a Notice of Dismissal on or before
that date, this Order to Show Cause will be discharged, and no additional action need be taken.

       Plaintiff is advised that failure to comply with this order will result in a
recommendation that the lawsuit be dismissed for failure to prosecute and/or comply with
court orders. See Fed. R. Civ. P. 41(b); C.D. Cal. L.R. 41-1.

It is so ordered.

Attachment: Notice of Dismissal


CV-90 (03/15)                            Civil Minutes – General                               Page 1 of 1
